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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                                 CASE NO. 3:18cr108/MCR

STEFANIE ANNE MARTIN

                                     /

                    ACCEPTANCE OF PLEA OF GUILTY

      Pursuant to the Report and Recommendation of the United States Magistrate

Judge, to which there have been no timely objections, and subject to this Court’s

consideration of the Plea Agreement pursuant to Fed. R. Crim. P. 11, the plea of

guilty of the Defendant, STEFANIE ANNE MARTIN, to Counts I, III, IV & V of the

Indictment is hereby ACCEPTED. All parties shall appear before this Court for

sentencing as directed.

      DONE and ORDERED this 20th day of March 2019.




                                         s/   M. Casey Rodgers
                                     M. CASEY RODGERS
                                     UNITED STATES DISTRICT JUDGE
